     Case 2:16-cv-04779-JFW-E Document 28 Filed 10/20/16 Page 1 of 25 Page ID #:238



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11                         UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
12

13

14
      JAVIER QUIROZ,                          Case No.: 2:16-cv-04779-JFW-E

15                Plaintiff,
16                                            DEFENDANT CAVALRY SPV I,
      vs.                                     LLC’S NOTICE OF MOTION AND
17
                                              MOTION TO COMPEL
      CAVALRY SPV I, LLC,                     ARBITRATION; MEMORANDUM
18
                  Defendant                   OF POINTS AND AUTHORITIES
19
                                              IN SUPPORT
20
                                               Date: November 21, 2016
21                                             Time: 1:30 PM
                                               Courtroom: Courtroom 16
22

23                                             The Hon. John F. Walter
24

25

26

27
      QUIROZ V. CAVALRY SPV I, LLC (CASE NO.: 2:16-CV-04779-JFW-E)
28    DEFENDANT CAVALRY SPV I, LLC’S NOTICE OF MOTION AND MOTION TO COMPEL ARBITRATION;
      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
     Case 2:16-cv-04779-JFW-E Document 28 Filed 10/20/16 Page 2 of 25 Page ID #:239



            TO PLAINTIFF AND HIS ATTORNEYS OF RECORD:
1
            PLEASE TAKE NOTICE that on November 21, 2016 at 1:30 p.m., or as
2

3
      soon thereafter as the matter may be heard in Courtroom 16 of this Court, located

4
      at the Spring Street Courthouse, 312 North Spring Street, Los Angeles, California

5     90012, the Honorable John F. Walter presiding, defendant Cavalry SPV I, LLC
6     (“Cavalry”) will and hereby does move this Court, pursuant to the Federal
7     Arbitration Act, 9 U.S.C. § 1, et seq. (the “FAA”), for an Order compelling
8     plaintiff Javier Quiroz (“Quiroz”) to arbitrate the claims he asserts in this action on
9     an individual basis. Cavalry further seeks an Order staying this action pending
10    completion of arbitration proceedings.
11
            This Motion is made following meet and confer by counsel as required by
12
      Local Rule 7-3, and following the in person meet and confer required by the
13
      Court’s Order dated September 7, 2016, which occurred on September 12, 2016.
14
      See Doc. No. 22. The motion is made on the grounds that a valid, enforceable and
15
      irrevocable agreement to arbitrate exists between the parties which encompasses
16
      Quiroz’s claims. Pursuant to the FAA, upon election by either party, Quiroz must
17
      arbitrate his claims on an individual basis, as required by the arbitration agreement
18
      Quiroz entered into with Cavalry’s predecessor in interest, GE Money Bank. This
19

20
      action must be stayed pending completion of the arbitration.

21
            This motion will be based upon this Notice of Motion and Motion, the

22    Memorandum of Points and Authorities, the Declarations of Terry Rivera and
23    Martha Koehler, all papers and pleadings on file, and all other evidence or
24    argument the Court may permit at the hearing in this matter.
25

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27
      QUIROZ V. CAVALRY SPV I, LLC (CASE NO.: 2:16-CV-04779-JFW-E)
28    DEFENDANT CAVALRY SPV I, LLC’S NOTICE OF MOTION AND MOTION TO COMPEL ARBITRATION;
      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
     Case 2:16-cv-04779-JFW-E Document 28 Filed 10/20/16 Page 3 of 25 Page ID #:240



      DATED: October 20, 2016              SIMMONDS & NARITA LLP
1

2

3
                                                 By:    s/Tomio B. Narita
4                                                       Tomio B. Narita
5                                                       Attorney for Defendant
                                                        Cavalry SPV I, LLC
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      QUIROZ V. CAVALRY SPV I, LLC (CASE NO.: 2:16-CV-04779-JFW-E)
28    DEFENDANT CAVALRY SPV I, LLC’S NOTICE OF MOTION AND MOTION TO COMPEL ARBITRATION;
      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
     Case 2:16-cv-04779-JFW-E Document 28 Filed 10/20/16 Page 4 of 25 Page ID #:241



1                                                  Table of Contents
2

3     I.     INTRODUCTION ...........................................................................................1
4

5
      II.    STATEMENT OF FACTS ..............................................................................2
             A.       The Parties .............................................................................................2
6
             B.       The Allegations Of The Complaint .......................................................3
7
             C.       The Account And The Arbitration Agreement .....................................4
8
             D.       The Purchase Of The Account By Cavalry ...........................................7
9

10    III.   ARGUMENT ...................................................................................................7
11           A.       The Federal Arbitration Act Mandates That This Court Must Compel
12                    Arbitration Of Claims That Are Subject To A Binding Arbitration
                      Agreement .............................................................................................7
13
             B.       The Agreement To Arbitrate Is Valid Under Utah Law, Which
14                    Applies To The Parties’ Agreement ......................................................9
15           C.       The Claims Asserted By Quiroz Fall Squarely Within The Scope Of
16
                      The Agreement To Arbitrate ...............................................................11
             D.       Calvary Is Entitled To Invoke The Arbitration Agreement As
17
                      Synchrony’s Assignee. ........................................................................14
18
             E.       Quiroz Must Arbitrate His Claims On An Individual (Non-Class)
19                    Basis, And This Case Should Be Stayed Pending The Outcome Of
20
                      The Arbitration Proceedings ...............................................................15

21
      IV.    CONCLUSION..............................................................................................16
22

23

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25

26

27    QUIROZ V. CAVALRY SPV I, LLC (CASE NO.: 2:16-CV-04779-JFW-E)
      DEFENDANT CAVALRY SPV I, LLC’S NOTICE OF MOTION AND MOTION TO COMPEL ARBITRATION;
28    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT                            i
     Case 2:16-cv-04779-JFW-E Document 28 Filed 10/20/16 Page 5 of 25 Page ID #:242



                                                  Table of Authorities
1

2                                                      Federal Cases
3     A & G Coal Corp. v. Integrity Coal Sales, Inc.,
4
      600 F. Supp. 2d 709 (W.D. Va. 2009) .....................................................................13

5     Allied-Bruce Terminix Cos. v. Dobson,
6     513 U.S. 265 (1995) ...................................................................................................7
7
      Amer. Express Co. v. Italian Colors Restaurant,
8     et al., 133 S. Ct. 2304 (2013) .....................................................................................1
9
      Anderson v. United States,
10    966 F.2d 487 (9th Cir. 1992) ...................................................................................10
11
      AT&T Mobility LLC v. Concepcion,
12    131 S. Ct. 1740 (2011) .......................................................................... 1, 7, 8, 15, 16
13
      AT&T Tech., Inc. v. Commc’ns Workers of Am.,
14
      475 U.S. 643, 106 S. Ct. 1415, 89 L. Ed. 2d 648 (1986) .................................. 11, 12
15
      Buckeye Check Cashing, Inc. v. Cardegna,
16
      546 U.S. 440 (2006) ........................................................................................ 2, 7, 13
17

18
      Caudill v. Cavalry SPV I, LLC,
      2014 WL 4230811 (E.D. K.Y. Aug. 25, 2014) .......................................................14
19

20    Chico v. Hilton Worldwide, Inc.,
      2014 WL 5088240 (C.D. Cal. Oct. 7, 2014) ............................................................10
21

22    Chiron Corp. v. Ortho Diagnostic Sys., Inc.,
      207 F.3d 1126 (9th Cir. 2000) ...................................................................................8
23

24    Clemins v. GE Money Bank,
25
      2012 WL 5868659 (E.D. Wis. Nov. 20, 2012) ................................................. 11, 12

26

27    QUIROZ V. CAVALRY SPV I, LLC (CASE NO.: 2:16-CV-04779-JFW-E)
      DEFENDANT CAVALRY SPV I, LLC’S NOTICE OF MOTION AND MOTION TO COMPEL ARBITRATION;
28    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT                            ii
     Case 2:16-cv-04779-JFW-E Document 28 Filed 10/20/16 Page 6 of 25 Page ID #:243



      Collins v. Burlington N. R. Co.,
1
      867 F. 2d 542 (9th Cir. 1989) ..................................................................................16
2

3
      Comedy Club, Inc. v. Improv W. Assocs.,
      553 F. 3d 1277 (9th Cir. 2009) ..................................................................................9
4

5     CompuCredit Corp. v. Greenwood,
      132 S. Ct. 665 (2012) .................................................................................................1
6

7     Dean Witter Reynolds, Inc. v. Byrd,
      470 U.S. 213 (1985) ...................................................................................................8
8

9     First Options of Chicago, Inc. v. Kaplan,
10
      514 U.S. 938 (1995) ...................................................................................................9

11    Galbraith v. Resurgent Capital Services,
12    2006 WL 2990163 (E.D. Cal. Oct. 19, 2006) ..........................................................14
13    Gilmer v. Interstate/Johnson Lane Corp.,
14    500 U.S. 20, 111 S. Ct. 1647, 114 L. Ed. 2d 26 (1991)...........................................12
15
      Green Tree Fin. Corp.-Ala. v. Randolph,
16    531 U.S. 79 (2000) .....................................................................................................9
17
      In re Bucknum,
18    951 F.2d 204 (9th Cir. 1991) ...................................................................................10
19
      ITT Educ. Servs., Inc. v. Arce,
20    533 F.3d 342 (5th Cir. 2008) ...................................................................................13
21
      Jallo v. Midland Funding, LLC,
22
      2014 WL 5810203 (S.D. Cal. Nov. 4, 2014) ...........................................................14
23

24
      Khanna v. Am. Express Co.,
      2011 WL 6382603 (S.D. N.Y. Dec. 14, 2011) ........................................................11
25

26    Kilgore v. KeyBank, Nat. Ass'n,
      718 F.3d 1052 (9th Cir. 2013) .................................................................................11
27    QUIROZ V. CAVALRY SPV I, LLC (CASE NO.: 2:16-CV-04779-JFW-E)
      DEFENDANT CAVALRY SPV I, LLC’S NOTICE OF MOTION AND MOTION TO COMPEL ARBITRATION;
28    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT                            iii
     Case 2:16-cv-04779-JFW-E Document 28 Filed 10/20/16 Page 7 of 25 Page ID #:244



1
      KPMG LLP v. Cocchi,
2     132 S. Ct. 23 (2011) .................................................................................................15
3
      Mahon v. Credit Bureau of Placer Cty, Inc.,
4     171 F.3d 1197 (9th Cir. 1999) .................................................................................10
5
      Martin v. Cavalry SPV I, LLC,
6     2014 WL 1338702 (E.D. K.Y. Mar. 31, 2014) ................................................. 12, 14
7
      Mitsubishi Motors Corp. v. Soler Chrysler- Plymouth, Inc.,
8
      473 U.S. 614 (1985) .............................................................................................9, 11
9

10
      Montalbano v. Cavalry Portfolio Services, LLC,
      2013 WL 593988 (W.D. Pa. Feb. 15, 2013) ............................................................14
11

12    Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp.,
      460 U.S. 1 (1983) ...................................................................................................7, 9
13

14    Perry v. Thomas,
      482 U.S. 483 (1987) ...................................................................................................8
15

16    Pollice v. Nat’l Tax Funding, L.P.,
17
      225 F. 3d 379 (3d Cir. 2000)....................................................................................14

18    Prima Paint Corp. v. Flood & Conklin Mfg. Co.,
19    388 U.S. 395 (1967) ........................................................................................ 2, 7, 13
20    Randolph v. Green Tree Fin. Corp.,
21    244 F.3d 814 (11th Cir. 2001) .................................................................................12
22
      Rent-A-Center W., Inc. v. Jackson,
23    561 U.S. 63 (2010) ...............................................................................................2, 13
24
      Shearson/American Express, Inc. v. McMahon,
25    482 U.S. 220 (1987) ...................................................................................................9
26

27    QUIROZ V. CAVALRY SPV I, LLC (CASE NO.: 2:16-CV-04779-JFW-E)
      DEFENDANT CAVALRY SPV I, LLC’S NOTICE OF MOTION AND MOTION TO COMPEL ARBITRATION;
28    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT                            iv
     Case 2:16-cv-04779-JFW-E Document 28 Filed 10/20/16 Page 8 of 25 Page ID #:245



      Shetiwy v. Midland Credit Mgmt., Inc.,
1
      959 F. Supp. 2d 469 (S.D.N.Y. 2013) .....................................................................11
2

3
      Simula, Inc. v. Autoliv, Inc.,
      175 F.3d 716 (9th Cir. 1999) ...................................................................................11
4

5     Sovak v. Chugai Pharm. Co.,
      280 F.3d 1266 (9th Cir. 2002) ...................................................................................9
6

7     Stolt-Nielsen S.A. v. Animalfeeds Int’l Corp.,
      559 U.S. 662 (2010) .............................................................................................8, 15
8

9     Unionmutual Stock Life Ins. Co. of Am. v. Beneficial Life Ins. Co.,
10
      774 F.2d 524 (1st Cir. 1985) ....................................................................................13

11    United Steelworkers of Am. v. Warrior & Gulf Navigation Co.,
12    363 U.S. 574, 80 S. Ct. 1347, 4 L. Ed. 2d 1409 (1960) ...........................................12
13    Volt Info. Scis., Inc. V. Board of Trs. Of Leland Stanford Junior Univ.,
14    27 489 U.S. 468 (1989) ..............................................................................................8
15
      Wolf v. Langemeier,
16    2010 WL 3341823 (E.D. Cal. Aug. 24, 2010) .........................................................14
17
      Wynne v. Am. Express Co,
18    2010 WL 3860362 (E.D. Tex. Sept. 30, 2010) ........................................................11
19
                                                       Federal Statutes
20
      15 U.S.C. § 1692 ........................................................................................................3
21
      9 U.S.C. § 1 ................................................................................................................1
22    9 U.S.C. § 2 ................................................................................................................7
      9 U.S.C. § 3 ..............................................................................................................16
23

24                                                       State Statutes
25    Cal. Bus. & Prof. Code § 654.3(c) .........................................................................1, 3
26    Cal. Bus. & Prof. Code § 17200 ................................................................................4
      Cal. Civ. Code § 1788 ................................................................................................3
27    QUIROZ V. CAVALRY SPV I, LLC (CASE NO.: 2:16-CV-04779-JFW-E)
      DEFENDANT CAVALRY SPV I, LLC’S NOTICE OF MOTION AND MOTION TO COMPEL ARBITRATION;
28    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT                            v
     Case 2:16-cv-04779-JFW-E Document 28 Filed 10/20/16 Page 9 of 25 Page ID #:246



      Utah Code Ann. § 25-5-4(2)(e)................................................................................10
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27    QUIROZ V. CAVALRY SPV I, LLC (CASE NO.: 2:16-CV-04779-JFW-E)
      DEFENDANT CAVALRY SPV I, LLC’S NOTICE OF MOTION AND MOTION TO COMPEL ARBITRATION;
28    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT                            vi
     Case 2:16-cv-04779-JFW-E Document 28 Filed 10/20/16 Page 10 of 25 Page ID #:247



1     I.     INTRODUCTION
2            In AT&T Mobility LLC v. Concepcion, 131 S. Ct. 1740 (2011), and in other
3     recent decisions, the United States Supreme Court has emphatically reaffirmed the
4     strong policy favoring enforcement of private agreements to arbitrate, as reflected
5     in the Federal Arbitration Act, 9 U.S.C. § 1, et seq. (“FAA”).1 The plaintiff here,
6     Javier Quiroz (“Quiroz”), entered into a credit card agreement with the defendant’s
7     predecessor, GE Money Bank (“GEMB”).2 The agreement contained a broad
8     arbitration provision, whereby Quiroz agreed that claims would be resolved
9
      through binding, individual (non-class action) arbitration. Subsequently, defendant
10
      Cavalry SPV I, LLC (“Cavalry”) purchased all right, title and interest to the
11
      account, and all rights under the agreement were transferred as part of the
12
      purchase. Cavalry stands in the shoes of GEMB, and it now invokes the arbitration
13
      provision.
14
             The claims asserted by Quiroz against Cavalry are subject to the broad
15
      arbitration provision. Indeed, counsel for Quiroz previously filed another action
16
      asserting nearly identical claims based on the alleged violation of the former
17
      version of section 654.3(c) of the California Business and Professions Code
18
      (“Section 654.3(c)”), and the Honorable Jane Johnson of the Los Angeles Superior
19

20

21
      1
22         See also Amer. Express Co. v. Italian Colors Restaurant, et al., 133 S. Ct.
           2304, 2311 (2013) (enforcing arbitration clause containing class action waiver
23         despite argument that cost of arbitrating antitrust claim would exceed potential
           recovery); CompuCredit Corp. v. Greenwood, 132 S. Ct. 665 (2012) (claim
24         under Credit Repair Organizations Act could be compelled to arbitration).
25    2
           On October 1, 2011, GE Money Bank became known as GE Capital Retail
26         Bank; on June 2, 2014, GE Capital Retail Bank was renamed Synchrony Bank.
           Declaration of Martha Koehler In Support Of Motion To Compel Arbitration
27         (“Koehler Decl.”), ¶ 1.
      QUIROZ V. CAVALRY SPV I, LLC (CASE NO.: 2:16-CV-04779-JFW-E)
28    DEFENDANT CAVALRY SPV I, LLC’S NOTICE OF MOTION AND MOTION TO COMPEL ARBITRATION;
      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT                            1
     Case 2:16-cv-04779-JFW-E Document 28 Filed 10/20/16 Page 11 of 25 Page ID #:248



1     Court granted GEMB’s motion to compel arbitration. See Martinez v. CACH,
2     LLC, L.A.S.C. Case No. BC559772 (Nov. 3, 2015 Order) (Request for Judicial
3     Notice (“RJN”)) at Exs. A and B. As in Martinez, Quiroz entered into a valid and
4     enforceable arbitration agreement, and his claim challenging the validity of the
5     credit agreement falls within the arbitration agreement’s broad scope. This
6     conclusion is the same, notwithstanding, that Calvary, rather than GEMB, is the
7     moving party, since the credit agreement provides that GEMB’s rights under the
8     agreement could be assigned.
9
              As discussed below, and as instructed by the Supreme Court, this Court need
10
      only determine if there is a valid arbitration agreement between the parties and if
11
      Plaintiff’s claims fall within that agreement’s broad scope. If the answer is yes, as
12
      Judge Johnson previously held in Martinez, then the arbitration agreement is
13
      severable from the card agreement, and the challenge by Quiroz to the validity of
14
      the card agreement as a whole is for the arbitrator, not the Court, to decide.3
15
              The motion to compel arbitration should be granted and this action should be
16
      stayed pending the resolution of the arbitration.
17
      II.     STATEMENT OF FACTS
18
              A.    The Parties
19
              Cavalry is a limited liability company with its principal offices in Vahalla,
20

21
      New York. See Declaration of Terry Rivera in Support Of Motion To Compel

22
      Arbitration (“Rivera Declaration”), ¶ 3. Cavalry is in the business of purchasing

23    delinquent financial obligations from banks and other financial institutions. Id.
24

25    3
            See, e.g., Rent-A-Center W., Inc. v. Jackson, 561 U.S. 63, 70 (2010) (“Rent-A-
26          Center”); Buckeye Check Cashing, Inc. v. Cardegna, 546 U.S. 440, 445-46
            (2006) (“Buckeye”); Prima Paint Corp. v. Flood & Conklin Mfg. Co., 388 U.S.
27          395, 404 (1967) (“Prima Paint”).
      QUIROZ V. CAVALRY SPV I, LLC (CASE NO.: 2:16-CV-04779-JFW-E)
28    DEFENDANT CAVALRY SPV I, LLC’S NOTICE OF MOTION AND MOTION TO COMPEL ARBITRATION;
      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT                            2
     Case 2:16-cv-04779-JFW-E Document 28 Filed 10/20/16 Page 12 of 25 Page ID #:249



1     Quiroz is an individual who currently resides in Ventura County, California. See
2     Complaint (Doc. No. 1) ¶ 8.
3           B.     The Allegations Of The Complaint
4           On or about January 4, 2011, Quiroz and his wife visited Santa Paula Dental
5     Care, where his wife was obtaining dental work. Id. ¶ 12. He claims the staff at
6     Santa Paula Dental Care enrolled him in a financing program to pay for his wife’s
7     dental work, and did so without providing any details about the program, and
8     without explaining he would be opening a revolving credit account. Id. ¶ 13. The
9
      staff at Santa Paula Dental Care allegedly “filled out a credit application and
10
      signed Plaintiff up for a credit card through [a] GE CAPITAL RETAIL BANK
11
      subsidiary or otherwise related entity CareCredit” without first obtaining Quiroz’s
12
      signature on a notice he claims was required by Section 654.3(c). Id. ¶ 14. Quiroz
13
      admits GEMB approved him for an open-end credit card (the “Account”), to which
14
      Santa Paula Dental Care charged approximately $3,135.00 for his wife’s dental
15
      services, and that GEMB began sending him monthly billing statements relating to
16
      the Account. Id. ¶¶ 15, 17. Quiroz further admits paying at least $3,135 between
17
      the time he opened the Account and October 15, 2013. Id. ¶ 18.
18
            His Account was sold to Cavalry on December 10, 2013, and Cavalry began
19
      contacting Quiroz to attempt to collect the balance. Id. ¶¶ 19-20. Cavalry allegedly
20

21
      filed suit against him on July 2, 2015 to collect the unpaid balance, but later

22
      dismissed that action. Id. ¶ 20.

23          Quiroz contends the unpaid balance on the Account “was invalid and
24    uncollectible” because his dentist allegedly failed to provide him the notice
25    required by Section 654.3(c). Id. ¶ 18. Thus, according to Quiroz, Cavalry’s
26    attempts to collect the Account violated portions of the Fair Debt Collection
27    Practices Act, 15 U.S.C. § 1692, et seq., the Rosenthal Act, Cal. Civ. Code § 1788,
      QUIROZ V. CAVALRY SPV I, LLC (CASE NO.: 2:16-CV-04779-JFW-E)
28    DEFENDANT CAVALRY SPV I, LLC’S NOTICE OF MOTION AND MOTION TO COMPEL ARBITRATION;
      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT                            3
     Case 2:16-cv-04779-JFW-E Document 28 Filed 10/20/16 Page 13 of 25 Page ID #:250



1     et seq. and the Unfair Competition Law, Cal. Bus. & Prof. Code § 17200, et seq.
2     Id. ¶¶ 37-74. Quiroz also purports to represents a class of similar situated persons.
3     Id. ¶¶ 27-29.
4           C.        The Account And The Arbitration Agreement
5           Quiroz signed an application for the Account on January 4, 2011 (the
6     “Application”), and the Application was submitted to GEMB (now known as
7     Synchrony, supra, fn. 2). See Koehler Decl. ¶ 6, Ex. 1. Synchrony is a federally
8     charted Savings Association based in Utah. Id. ¶ 1. All Synchrony accounts are
9
      governed by a written agreement setting forth the terms and conditions of the
10
      account (the “Card Agreement”). Id. ¶ 7. The Card Agreement contains a choice
11
      of law provision calling for the application of Utah law. Id. ¶ 8, Ex. 3.
12
            As part of the account-opening process, Synchrony requires merchant
13
      providers, like Santa Paula Dental Care, to give customers a copy of the blank
14
      CareCredit account application, which includes the Card Agreement as an
15
      attachment. Id. ¶ 7 at Ex. 2. The Application expressly informs the customer that
16
      Card Agreement:
17
                      (1) INCLUDES A DISPUTE AND CLAIM
18                    RESOLUTION (INCLUDING ARBITRATION)
19
                      PROVISION THAT MAY LIMIT MY RIGHTS
                      UNLESS I REJECT THAT PROVISION UNDER
20
                      THE AGREEMENT’S INSTRUCTIONS.

21    Id. (¶ 3 of Application). Once the customer completes the application, it is
22    detached from the Card Agreement, and the Card Agreement is given to the
23    consumer. Id. The application is retained by the provider (i.e., Santa Paula Dental
24    Care). Id.
25          Not only was the Card Agreement provided to Quiroz at the time he signed
26    the Application, the Card Agreement was also mailed to him by Synchrony, along
27
      QUIROZ V. CAVALRY SPV I, LLC (CASE NO.: 2:16-CV-04779-JFW-E)
28    DEFENDANT CAVALRY SPV I, LLC’S NOTICE OF MOTION AND MOTION TO COMPEL ARBITRATION;
      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT                            4
     Case 2:16-cv-04779-JFW-E Document 28 Filed 10/20/16 Page 14 of 25 Page ID #:251



1     with his card, on January 5, 2011. Id. ¶ 8, Ex. 3. The notes relating to the Account
2     confirm the credit card and Card Agreement were mailed to him, and that neither
3     were returned as undeliverable. Id. ¶¶ 9-10, Ex. 4. Synchrony mailed monthly
4     statements to Quiroz to the same address he provided in the Application, and he
5     made payments in response to the statements. Id. ¶ 11, Ex. 5.
6           The Card Agreement includes a provision that provides for individual, non-
7     class arbitration of all disputes arising from or relating to the Account (the
8     “Arbitration Agreement”). Id. Ex. 3, at p. 12 (¶ 24). It provides in relevant part as
9
      follows:
10
                   DISPUTE AND CLAIM RESOLUTION
11                 (INCLUDING ARBITRATION) PROVISION
12                 General/Requirement to Arbitrate. PLEASE READ
                   THIS PROVISION CAREFULLY. UNLESS YOU
13                 SEND US THE REJECTION NOTICE DESCRIBED
                   BELOW THIS PROVISION WILL APPLY TO
14                 YOUR ACCOUNT, AND MOST DISPUTES
                   BETWEEN YOU AND US WILL BE SUBJECT TO
15                 INDIVIDUAL ARBITRATION. THIS MEANS
                   THAT: (1) NEITHER A COURT NOR A JURY
16                 WILL RESOLVE ANY SUCH DISPUTE; (2) YOU
                   WILL NOT BE ABLE TO PARTICIPATE IN A
17                 CLASS ACTION OR SIMILAR PROCEEDING; (3)
                   LESS INFORMATION WILL BE AVAILABLE;
18                 AND (4) APPEAL RIGHTS WILL BE LIMITED.
19
                   This Provision replaces any existing arbitration provision
20
                   with us and will stay in force no matter what happens to
                   your account, including termination. Upon demand, and
21                 except as otherwise provided below, you and we must
                   arbitrate individually any dispute or claim between you,
22                 any joint cardholder and/or any additional cardholder, on
                   the one hand; and us, our affiliates, agents and/or
23                 dealers/merchants/retailers or participating professionals,
                   on the other hand, if the dispute or claim arises from or
24                 relates to your account. However, we will not require you
                   to arbitrate: (1) any individual case in small claims court
25                 or your state’s equivalent court, so long as it remains an
                   individual case in that court; or (2) any claim by us that
26                 only involves our effort to collect money you owe us.
                   However, if you respond to a collection lawsuit by
27
      QUIROZ V. CAVALRY SPV I, LLC (CASE NO.: 2:16-CV-04779-JFW-E)
28    DEFENDANT CAVALRY SPV I, LLC’S NOTICE OF MOTION AND MOTION TO COMPEL ARBITRATION;
      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT                            5
     Case 2:16-cv-04779-JFW-E Document 28 Filed 10/20/16 Page 15 of 25 Page ID #:252


                   claiming that we engaged in any wrongdoing, we may
1                  require you to arbitrate.
2                  YOU AGREE NOT TO PARTICIPATE IN A
                   CLASS, REPRESENTATIVE OR PRIVATE
3                  ATTORNEY GENERAL ACTION AGAINST US IN
                   COURT OR ARBITRATION. ALSO, YOU MAY
4                  NOT BRING CLAIMS AGAINST US ON BEHALF
                   OF ANY CARDHOLDER WHO IS NOT A JOINT
5                  OR ADDITIONAL CARDHOLDER WITH YOU ON
                   YOUR ACCOUNT (AN “UNRELATED
6                  CARDHOLDER”), AND YOU AGREE THAT NO
7
                   UNRELATED CARDHOLDER MAY BRING ANY
                   CLAIMS AGAINST US ON YOUR BEHALF.
8
                   CLAIMS BY YOU AND BY AN UNRELATED
                   CARDHOLDER MAY NOT BE JOINED IN A
9                  SINGLE ARBITRATION. Only a court may decide
                   whether any part of this paragraph is enforceable. If it is
10                 finally determined that this paragraph is not fully
                   enforceable, only this sentence of the Provision will
11                 remain in force and the remainder of the Provision will
                   be null and void, provided that the court’s determination
12                 concerning the enforceability of this paragraph shall be
                   subject to appeal.
13
      Id. The Arbitration Agreement also provides a specific procedure by which Quiroz
14

15
      could have sent a written notice to reject the requirement that he arbitrate his

16
      disputes, as follows:

17                 Rejecting this Provision. You may reject this Provision,
                   in which case only a court may be used to resolve any
18                 dispute or claim. Rejection will not affect any other
                   aspect of this Agreement. To reject, you must send us a
19                 notice within 60 days after you open your account or we
                   first provide you with a right to reject this Provision. The
20                 notice must include your name, address, and account
                   number and be mailed to GE Money Bank, P.O. Box
21                 981429, El Paso, TX 79998-1429. This is the only way
                   you can reject this provision.
22

23    Id. at p. 13 (¶ 24). Thus, Quiroz had until March 5, 2011 (60 days from the date the
24    Account was opened) to reject the Arbitration Agreement. He did not, however,
25    exercise his right to reject it. Id. ¶¶ 13-14.
26

27
      QUIROZ V. CAVALRY SPV I, LLC (CASE NO.: 2:16-CV-04779-JFW-E)
28    DEFENDANT CAVALRY SPV I, LLC’S NOTICE OF MOTION AND MOTION TO COMPEL ARBITRATION;
      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT                            6
     Case 2:16-cv-04779-JFW-E Document 28 Filed 10/20/16 Page 16 of 25 Page ID #:253



1            D.    The Purchase Of The Account By Cavalry
2            When Quiroz failed to pay the balance due, the Account was charged off by
3     Synchrony on January 22, 2014, with a balance of $2,843.49. Id. ¶ 15. All right,
4     title and interest in the Account was sold in February, 2014 to Cavalry SPV I,
5     LLC. See Rivera Decl., ¶¶ 4-5, Exs. A and B. The Card Agreement provides that
6     Synchrony “may sell, assign or transfer any or all of [it’s] rights or duties under the
7     Agreement or [Quiroz’s] Account.” See Koehler Decl., Ex. 3 at p. 13 (¶ 26).
8     III.   ARGUMENT
9
             A.    The Federal Arbitration Act Mandates That This Court Must
10                 Compel Arbitration Of Claims That Are Subject To A Binding
11                 Arbitration Agreement
12           Section 2 of the FAA mandates that binding arbitration agreements in
13    contracts “evidencing a transaction involving [interstate] commerce . . . shall be
14    valid, irrevocable, and enforceable, save upon such grounds as exist at law or in
15    equity for the revocation of any contract.” 9 U.S.C. § 2; see Buckeye, 546 U.S. at
16    443 (“Section 2 [of the FAA] embodies the national policy favoring arbitration and
17    places arbitration agreements on equal footing with all other contracts.”); see also
18    AT&T Mobility, 131 S. Ct. at 1748 (“Section 2 [of the FAA] makes arbitration
19    agreements ‘valid, irrevocable, and enforceable’ as written . . . .”). The Supreme
20    Court has repeatedly recognized the FAA is extremely broad and applies to any
21
      transaction directly or indirectly affecting interstate commerce. See, e.g., Allied-
22
      Bruce Terminix Cos. v. Dobson, 513 U.S. 265, 277 (1995); Prima Paint, 388 U.S.
23
      at 401.
24
             The FAA promotes a “liberal federal policy favoring arbitration
25
      agreements,” and “questions of arbitrability must be addressed with a healthy
26
      regard for the federal policy favoring arbitration.” Moses H. Cone Mem’l Hosp. v.
27
      QUIROZ V. CAVALRY SPV I, LLC (CASE NO.: 2:16-CV-04779-JFW-E)
28    DEFENDANT CAVALRY SPV I, LLC’S NOTICE OF MOTION AND MOTION TO COMPEL ARBITRATION;
      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT                            7
     Case 2:16-cv-04779-JFW-E Document 28 Filed 10/20/16 Page 17 of 25 Page ID #:254



1     Mercury Constr. Corp., 460 U.S. 1, 24 (1983); see also Perry v. Thomas, 482 U.S.
2     483, 490-91 (1987) (arbitration agreements falling within the scope of the FAA
3     “must be ‘rigorously enforce[d]’” (citations omitted)); AT&T Mobility LLC, 131 S.
4     Ct. at 1745. In fact, the Supreme Court has confirmed that the “‘principal purpose’
5     of the FAA is to ‘ensur[e] that private arbitration agreements are enforced
6     according to their terms.’” AT&T Mobility LLC, 131 S. Ct. at 1748.4 The Court
7     has stated the FAA “leaves no place for the exercise of discretion by a district
8     court, but instead mandates that district courts shall direct the parties to proceed to
9
      arbitration.” Dean Witter Reynolds, Inc. v. Byrd, 470 U.S. 213, 218 (1985).
10
            Here, Quiroz expressly agreed that the FAA governed the arbitration
11
      provision, and that it would apply when resolving claims through arbitration:
12
                   This Provision is governed by the Federal Arbitration Act
13                 (the “FAA”). Utah law shall apply to the extent state law
                   is relevant under Section 2 of the FAA in determining the
14                 validity of this Provision. The arbitrator must follow: (1)
                   the substantive law, consistent with the FAA, that would
15                 apply if the matter had been brought in court, (2) this
                   Provision, and (3) the administrator’s rules. The
16                 arbitrator’s decision will be final and binding, except for
                   any appeal right under the FAA. Any court with
17                 jurisdiction may enter judgment upon the arbitrator’s
                   award.
18

19    See Koehler Decl., Ex. 3, p. 13 (¶ 24).
20          Under the FAA, arbitration must be compelled where, as here: (1) a valid,
21    enforceable agreement to arbitrate exists; and (2) the claims at issue fall within the
22    scope of that agreement. See, e.g., Chiron Corp. v. Ortho Diagnostic Sys., Inc., 207
23    F.3d 1126, 1130 (9th Cir. 2000). An arbitration agreement governed by the FAA
24

25
      4
26        See also Volt Info. Scis., Inc. V. Board of Trs. Of Leland Stanford Junior Univ.,
          27 489 U.S. 468, 479 (1989); Stolt-Nielsen S.A. v. Animalfeeds Int’l Corp., 559
27        U.S. 662, 28 684 (2010) (citations omitted).
      QUIROZ V. CAVALRY SPV I, LLC (CASE NO.: 2:16-CV-04779-JFW-E)
28    DEFENDANT CAVALRY SPV I, LLC’S NOTICE OF MOTION AND MOTION TO COMPEL ARBITRATION;
      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT                            8
     Case 2:16-cv-04779-JFW-E Document 28 Filed 10/20/16 Page 18 of 25 Page ID #:255



1     is presumed to be valid and enforceable. See Shearson/American Express, Inc. v.
2     McMahon, 482 U.S. 220, 226 (1987); Mitsubishi Motors Corp. v. Soler Chrysler-
3     Plymouth, Inc., 473 U.S. 614, 626-27 (1985).
4            The FAA “establishes that, as a matter of federal law, any doubts concerning
5     the scope of arbitrable issues should be resolved in favor of arbitration.” Moses H.
6     Cone, 460 U.S. at 24-25. The party resisting arbitration bears the burden of
7     showing the arbitration agreement is invalid or does not encompass the claims at
8     issue. See Green Tree Fin. Corp.-Ala. v. Randolph, 531 U.S. 79, 92 (2000).
9
      “[W]here the contract contains an arbitration clause, there is a presumption of
10
      arbitrability.” Comedy Club, Inc. v. Improv W. Assocs., 553 F. 3d 1277, 1284 (9th
11
      Cir. 2009). Quiroz will not be able to meet this burden.
12
             B.     The Agreement To Arbitrate Is Valid Under Utah Law, Which
13
                    Applies To The Parties’ Agreement
14
             The Card Agreement and the Arbitration Agreement both contain a choice of
15
      law provision calling for the application of Utah law. See Koehler Decl., Ex. 3 at
16
      pp. 4 (¶ 5), 13 (¶ 24). Thus, Utah law governs the issue of whether an enforceable
17
      agreement to arbitrate exists. See First Options of Chicago, Inc. v. Kaplan, 514
18
      U.S. 938, 944 (1995) (“When deciding whether the parties agreed to arbitrate a
19
      certain matter (including arbitrability), courts generally . . . should apply ordinary
20
      state-law principles that govern the formation of contracts.”); Sovak v. Chugai
21
      Pharm. Co., 280 F.3d 1266, 1269-70 (9th Cir. 2002) (where agreement provided
22
      for application of Illinois law, “[w]e must conclude that the Agreement
23
      incorporates the FAA’s rules for arbitration, but Illinois substantive law applies in
24

25
      all other respects.”).

26
             The Arbitration Agreement is binding under Utah law, which provides that

27    ”[a] credit agreement is binding an enforceable . . . if: (i) the debtor is provided
      QUIROZ V. CAVALRY SPV I, LLC (CASE NO.: 2:16-CV-04779-JFW-E)
28    DEFENDANT CAVALRY SPV I, LLC’S NOTICE OF MOTION AND MOTION TO COMPEL ARBITRATION;
      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT                            9
     Case 2:16-cv-04779-JFW-E Document 28 Filed 10/20/16 Page 19 of 25 Page ID #:256



1     with a written copy of the terms of the agreement; (ii) the agreement provides that
2     any use of the credit offered shall constitute acceptance of those terms; and (iii)
3     after the debtor receives the agreement, the debtor, or a person authorized by the
4     debtor, requests funds pursuant to the agreement or otherwise uses the credit
5     offered.” Utah Code Ann. § 25-5-4(2)(e). Utah also permits the use of class action
6     waivers in consumer credit agreements. See id. § 70C-4-105 (“[A] creditor may
7     contract with the debtor of an open-end consumer credit contract for a waiver by
8     the debtor of the right to initiate or participate in a class action related to the open-
9
      end consumer credit contract”).
10
            In this case, consistent with the requirements of Utah law, Quiroz was
11
      provided with the Arbitration Agreement on two separate occasions – once when
12
      he applied for the Account, and again when the Card Agreement and his card were
13
      mailed to him at the address he provided in his application.5 See Koehler Decl., ¶¶
14
      7-10, Exs. 2-4. There is no question he received the Agreement, because it was
15
      mailed to the address he provided, and there is no record it was returned to
16
      Synchrony as undeliverable. Id. ¶ 10.6
17

18

19
      5
          The Plaintiff’s claim that his “sole language” is Spanish does not defeat the
20        conclusion that he accepted, and is bound by, the terms of the Arbitration
          Agreement. See Chico v. Hilton Worldwide, Inc., 2014 WL 5088240, at *6
21        (C.D. Cal. Oct. 7, 2014) (holding that, “even if Plaintiff could not understand
          or even read the [arbitration agreements], the Court concludes that he assented
22
          to their terms.”).
23
      6
          See Mahon v. Credit Bureau of Placer Cty, Inc., 171 F.3d 1197, 1202 (9th Cir.
24        1999) (under the Mailbox Rule, the Court presumes a letter is received shortly
          after it is mailed) (citing Anderson v. United States, 966 F.2d 487, 491 (9th Cir.
25        1992)). To overcome the presumption of mailing and receipt, a party must
          prove “by clear and convincing evidence that the mailing was not, in fact,
26        accomplished.” See In re Bucknum, 951 F.2d 204, 207 (9th Cir. 1991).
          Notably, Plaintiff had 60 days to opt out of the Arbitration Agreement; again,
27        he did not do so. The failure to opt-out when the right is provided defeats any
      QUIROZ V. CAVALRY SPV I, LLC (CASE NO.: 2:16-CV-04779-JFW-E)
28    DEFENDANT CAVALRY SPV I, LLC’S NOTICE OF MOTION AND MOTION TO COMPEL ARBITRATION;
      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT                            10
     Case 2:16-cv-04779-JFW-E Document 28 Filed 10/20/16 Page 20 of 25 Page ID #:257



1           There also is no question that Quiroz applied for and used the Account to
2     finance dental work for his wife, or that he made payments on the Account in
3     response to the statements that were mailed to him. Id. ¶ 11, Ex. 5; see also
4     Compl., ¶¶ 17-18.
5           By using the Account, Quiroz accepted the Agreement, including the
6     Arbitration Agreement. Numerous decisions have so held. See Shetiwy v. Midland
7     Credit Mgmt., Inc., 959 F. Supp. 2d 469, 472 (S.D.N.Y. 2013); Clemins v. GE
8     Money Bank, 2012 WL 5868659, at *1-2 (E.D. Wis. Nov. 20, 2012); Khanna v.
9
      Am. Express Co., 2011 WL 6382603, at *3-4 (S.D. N.Y. Dec. 14, 2011); Wynne v.
10
      Am. Express Co, 2010 WL 3860362, at *7 (E.D. Tex. Sept. 30, 2010); see also
11
      Martinez, Case No. BC559772 (RJN Exs. A and B).
12
            C.     The Claims Asserted By Quiroz Fall Squarely Within The Scope
13
                   Of The Agreement To Arbitrate
14
            Once it is determined that parties have entered into a binding arbitration
15
      agreement an “order to arbitrate the particular grievance should not be denied
16
      unless it may be said with positive assurance that the arbitration clause is not
17
      susceptible of an interpretation that covers the asserted dispute.” AT&T Tech., Inc.
18
      v. Commc’ns Workers of Am., 475 U.S. 643, 650, 106 S. Ct. 1415, 89 L. Ed. 2d
19
      648 (1986). Similarly, “[a]ny doubts concerning the scope of arbitrable issues
20
      should be resolve in favor of arbitration.” Mitsubishi Motors, 473 U.S. at 626; see
21
      also Simula, Inc. v. Autoliv, Inc., 175 F.3d 716, 719 (9th Cir. 1999) (“The standard
22
      for demonstrating arbitrability is not high.”). Where the clause is broad, as is the
23

24

25

26        claim of procedurally unconscionability. See Kilgore v. KeyBank, Nat. Ass'n,
          718 F.3d 1052, 1059 (9th Cir. 2013) (finding no procedural unconscionability
27        when plaintiff is given 60 days to reject arbitration provision).
      QUIROZ V. CAVALRY SPV I, LLC (CASE NO.: 2:16-CV-04779-JFW-E)
28    DEFENDANT CAVALRY SPV I, LLC’S NOTICE OF MOTION AND MOTION TO COMPEL ARBITRATION;
      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT                            11
     Case 2:16-cv-04779-JFW-E Document 28 Filed 10/20/16 Page 21 of 25 Page ID #:258



1     case here, there is a heightened presumption of arbitrability such that, “‘[in] the
2     absence of any express provision excluding a particular grievance from arbitration,
3     we think only the most forceful evidence of a purpose to exclude the claim from
4     arbitration can prevail.’” AT&T Tech., 475 U.S. at 650 (quoting United
5     Steelworkers of Am. v. Warrior & Gulf Navigation Co., 363 U.S. 574, 582-83, 80
6     S. Ct. 1347, 4 L. Ed. 2d 1409 (1960)).
7           Here, the Arbitration Agreement broadly encompasses “any dispute or
8     claim” between the parties that “arises from or relates to [Plaintiff’s] account.”
9
      Koehler Decl., Ex. 3, at p. 12 (¶ 24). The claims asserted by Quiroz indisputably
10
      fall within the broad scope of the Arbitration Agreement, as they arise out of
11
      Cavalry’s alleged efforts to collect the unpaid balance of the Account that is
12
      subject to the Card Agreement containing the Arbitration Agreement. See Doc. No
13
      1 at ¶¶ 19-20. The Arbitration Agreement’s broad contractual language plainly
14
      covers Quiroz’s claims, all of which clearly relate to the Account. See, e.g.,
15
      Martin v. Cavalry SPV I, LLC, 2014 WL 1338702, at *9 (E.D. K.Y. Mar. 31, 2014)
16
      (stating that plaintiff’s claims und federal and state debt collection statutes are
17
      within scope of Synchrony’s arbitration agreement); Clemins, 2012 WL 5868659,
18
      at *3 (holding that claims were within the scope of arbitration agreement, and that
19
      “[t]he phrase ‘related to’ is extremely broad and capable of expansive reach.”)
20

21
      (internal quotation marks and citation omitted).7

22

23

24
      7
25        It is well-settled that statutory claims may be arbitrated. See, e.g., Gilmer v.
          Interstate/Johnson Lane Corp., 500 U.S. 20, 26, 111 S. Ct. 1647, 114 L. Ed. 2d
26        26 (1991) (“It is by now clear that statutory claims may be the subject of an
          arbitration.”); Randolph v. Green Tree Fin. Corp., 244 F.3d 814, 818 (11th Cir.
27        2001) (Truth-in-Lending Act claims subject to arbitration agreement).
      QUIROZ V. CAVALRY SPV I, LLC (CASE NO.: 2:16-CV-04779-JFW-E)
28    DEFENDANT CAVALRY SPV I, LLC’S NOTICE OF MOTION AND MOTION TO COMPEL ARBITRATION;
      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT                            12
     Case 2:16-cv-04779-JFW-E Document 28 Filed 10/20/16 Page 22 of 25 Page ID #:259



1           Indeed, Quiroz’s central claim here – that the Card Agreement is invalid
2     because his wife’s dentist’s allegedly failed to provide him with the notice required
3     by Section 654.3(c) – falls within the Arbitration Agreement’s scope (i.e., the
4     claim arises from and/or relates to the Account) and, pursuant to the FAA and
5     settled United States Supreme Court precedent, the claim is arbitrable.
6           The fact that Quiroz claims the credit agreement is invalid does not impact
7     whether an arbitrator can resolve that claim. As instructed by the Supreme Court,
8     if the Court finds that there is an enforceable arbitration agreement, then, “[a]s a
9
      matter of substantive federal arbitration law,” the arbitration agreement is “is
10
      severable from the remainder of the contract.” See Buckeye, 546 U.S. at 445.
11
      Thus, an arbitration agreement survives even “in a contract that the arbitrator later
12
      finds to be void.” Id. at 448; see Rent-A-Center, 561 U.S. at 70 (a challenge to the
13
      contract as a whole “does not prevent a court from enforcing a specific agreement
14
      to arbitrate”). As Supreme Court jurisprudence makes clear, the enforceability of
15
      the Card Agreement as a whole is irrelevant to the validity of the Arbitration
16
      Agreement. The validity of the Arbitration Agreement must be evaluated
17
      separately (by the Court), while the validity of the remainder of the Card
18
      Agreement is evaluated by the arbitrator.8 See, e.g., Rent-A-Center, 561 U.S. a 70;
19
      Buckeye, 546 U.S. at 445-46; Prima Paint, 388 U.S. at 404.
20

21

22    8
          For this reason, even if an arbitrator later found the Card Agreement to be
23        found invalid under Section 654.3 (which it is not), the Arbitration Agreement
          is severable from the remainder of the Card Agreement. Thus, pursuant to the
24        FAA and Supreme Court precedent, the Arbitration Agreement continues
          intact. See, e.g., ITT Educ. Servs., Inc. v. Arce, 533 F.3d 342, 346-47 (5th Cir.
25        2008) (even if arbitrator invalidates contract, arbitration clause remains
          “separable,” valid and enforceable); A & G Coal Corp. v. Integrity Coal Sales,
26        Inc., 600 F. Supp. 2d 709, 714 (W.D. Va. 2009) (even if a contract is void,
          parties may still form valid arbitration agreement and “that agreement to
27        arbitrate should be enforced” under Prima Paint); Unionmutual Stock Life Ins.
      QUIROZ V. CAVALRY SPV I, LLC (CASE NO.: 2:16-CV-04779-JFW-E)
28    DEFENDANT CAVALRY SPV I, LLC’S NOTICE OF MOTION AND MOTION TO COMPEL ARBITRATION;
      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT                            13
     Case 2:16-cv-04779-JFW-E Document 28 Filed 10/20/16 Page 23 of 25 Page ID #:260



            D.     Calvary Is Entitled To Invoke The Arbitration Agreement As
1
                   Synchrony’s Assignee.
2
            Finally, Cavalry purchased all right, title and interest in the Account, and it
3
      therefore stands in Synchrony’s shoes. Pollice v. Nat’l Tax Funding, L.P., 225 F.
4
      3d 379, 414 (3d Cir. 2000) (“[A]ssignee . . . stands in the shoes of the assignor”).
5
      As the assignee and successor in interest of Synchrony, Cavalry may enforce the
6
      Arbitration Agreement. See, e.g., Martin, 2014 WL 1338702, *5 (granting
7
      Cavalry’s motion to compel arbitration based on agreement between customer and
8
      GE Capital Retail Bank: “. . . Martin’s consent to be bound by the Credit Card
9
      Agreement also bound her to arbitrate any disputes with any party to whom GE
10
      assigned or transferred its rights or Martin’s account.”); Caudill v. Cavalry SPV I,
11
      LLC, WL 4230811, **1-7 (E.D. K.Y. Aug. 25, 2014) (granting Cavalry’s motion
12

13
      to enforce arbitration provision in plaintiff’s credit card agreement); Montalbano v.

14
      Cavalry Portfolio Services, LLC, 2013 WL 593988, **2-6 (W.D. Pa. Feb. 15,

15    2013) (granting motion to compel arbitration filed by Cavalry Portfolio Services,
16    LLC).9
17

18

19        Co. of Am. v. Beneficial Life Ins. Co., 774 F.2d 524, 528-29 (1st Cir. 1985)
          (under Prima Point “arbitration clause is separable from the contract and is not
20        rescinded by Beneficial’s attempt to rescind the entire contract”).
21    9
          See also Galbraith v. Resurgent Capital Services, 2006 WL 2990163, *1 (E.D.
22        Cal. Oct. 19, 2006) (“Defendants, however, are successors in interest and/or
          agents of the successors in interest and as such are entitled to the benefits of the
23        arbitration clause under the ordinary principles of contract and agency and the
          doctrine of equitable estoppel. (Citation).”); Jallo v. Midland Funding, LLC,
24        2014 WL 5810203, *7 (S.D. Cal. Nov. 4, 2014) (granting debt buyer’s motion
          to compel arbitration: “The broad language of the arbitration clause subjects to
25        arbitration any claim arising out of the Agreement and against an assignee of
          the Agreement.”); Wolf v. Langemeier, 2010 WL 3341823, *4 (E.D. Cal. Aug.
26        24, 2010) (staying action pending arbitration: “[n]onsignatory successors . . .
             are entitled to compel arbitration under clauses signed by the corporations
27        whose liabilities they are alleged to have assumed.”).
      QUIROZ V. CAVALRY SPV I, LLC (CASE NO.: 2:16-CV-04779-JFW-E)
28    DEFENDANT CAVALRY SPV I, LLC’S NOTICE OF MOTION AND MOTION TO COMPEL ARBITRATION;
      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT                            14
     Case 2:16-cv-04779-JFW-E Document 28 Filed 10/20/16 Page 24 of 25 Page ID #:261



                 E.    Quiroz Must Arbitrate His Claims On An Individual (Non-Class)
1
                       Basis, And This Case Should Be Stayed Pending The Outcome Of
2                      The Arbitration Proceedings
3                As recently confirmed by the Supreme Court, the FAA “leaves no place for
4     the exercise of discretion by a district court, but instead mandates that district
5     courts shall direct the parties to proceed with arbitration on issues to which an
6     arbitration agreement has been signed.” KPMG LLP v. Cocchi, 132 S. Ct. 23, 25-
7     26 (2011) (citations omitted; emphasis in original). Quiroz expressly agreed to
8     arbitrate claims on an individual, non-class basis. In its decisions in KPMG, AT&T
9
      Mobility, and Stolt-Nielsen, the Supreme Court made it unmistakably clear that
10
      arbitration agreements governed by the FAA, like this one, must be enforced as
11
      written. See KPMG, 132 S. Ct. at 25 (the FAA “requires courts to enforce the
12
      bargain of the parties to arbitrate”); AT&T Mobility, 131 S. Ct. at 1748 (the
13
      “‘principal purpose’ of the FAA is to ‘ensur[e] that private arbitration agreements
14
      are enforced according to their terms.’”); Stolt-Nielsen S.A., 556 U.S. at 683
15
      (“[u]nderscoring the consensual nature of private dispute resolution” is the notion
16
      that “parties are ‘generally free to structure their arbitration agreements as they see
17
      fit.’”).
18
                 The Arbitration Agreement does not attempt to hide the limitation on
19
      Quiroz’s ability to arbitrate class claims in small print. To the contrary, it calls
20

21
      attention to this limitation in bold and all caps. See Koehler Decl., Ex. 3 (¶ 24) (“. .

22
      . MOST DISPUTES BETWEEN YOU AND US WILL BE SUBJECT TO

23    INDIVIDUAL ARBITRATION. THIS MEANS THAT: (1) NEITHER A
24    COURT NOR A JURY WILL RESOLVE ANY SUCH DISPUTE; (2) YOU
25    WILL NOT BE ABLE TO PARTICIPATE IN A CLASS ACTION OR
26    SIMILAR PROCEEDING; . . . YOU AGREE NOT TO PARTICIPATE IN A
27    CLASS, REPRESENTATIVE OR PRIVATE ATTORNEY GENERAL
      QUIROZ V. CAVALRY SPV I, LLC (CASE NO.: 2:16-CV-04779-JFW-E)
28    DEFENDANT CAVALRY SPV I, LLC’S NOTICE OF MOTION AND MOTION TO COMPEL ARBITRATION;
      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT                            15
     Case 2:16-cv-04779-JFW-E Document 28 Filed 10/20/16 Page 25 of 25 Page ID #:262



1     ACTION AGAINST US IN COURT OR ARBITRATION. ALSO, YOU MAY
2     NOT BRING CLAIMS AGAINST US ON BEHALF OF ANY
3     CARDHOLDER WHO IS NOT A JOINT OR ADDITIONAL
4     CARDHOLDER WITH YOU ON YOUR ACCOUNT (AN “UNRELATED
5     CARDHOLDER”), AND YOU AGREE THAT NO UNRELATED
6     CARDHOLDER MAY BRING ANY CLAIMS AGAINST US ON YOUR
7     BEHALF.”).
8           The FAA further requires that when a dispute has been sent to binding
9
      arbitration, the district court should stay the action pending the outcome of the
10
      arbitration proceeding. 9 U.S.C. § 3; see AT&T Mobility LLC, 131 S. Ct. at 1748
11
      (Section 3 of the FAA “requires courts to stay litigation of arbitral claims pending
12
      arbitration of those claims ‘in accordance with the terms of the agreement.’”); see
13
      also Collins v. Burlington N. R. Co., 867 F. 2d 542, 545 (9th Cir. 1989) (remanding
14
      case where district court failed to consider whether a stay was appropriate as a
15
      result of binding arbitration agreement).
16
      IV.   CONCLUSION
17
            In light of the forgoing, Cavalry respectfully requests that the Court grant
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      this motion to compel Quiroz to arbitrate his claims on an individual basis, and that
19
      the Court stay the action pending the outcome of the arbitration proceedings.
20

21

22    DATED: October 19, 2016                SIMMONDS & NARITA LLP
23

24                                                  By:    s/Tomio B. Narita
                                                           Tomio B. Narita
25
                                                           Attorney for Defendant
26                                                         Cavalry SPV I, LLC
27
      QUIROZ V. CAVALRY SPV I, LLC (CASE NO.: 2:16-CV-04779-JFW-E)
28    DEFENDANT CAVALRY SPV I, LLC’S NOTICE OF MOTION AND MOTION TO COMPEL ARBITRATION;
      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT                            16
